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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
                                              :
       v.                                     :       Case No. 22-cr-144-GMH
                                              :
RICHARD GUSTAVE OLSON, JR.                    :
                                              :       Judge G. Michael Harvey
                                              :
                       Defendant.             :

                                             ORDER

       Based upon the representations in the Unopposed Motion to Continue Response Deadline,

and upon consideration of the entire record, it is hereby

       ORDERED that the Motion is GRANTED; and it is further

       ORDERED that the government shall file its response to the defendant’s motion for

issuance of a subpoena by April 14, 2023.


                                                               Digitally signed by
                                                               G. Michael Harvey
                                                               Date: 2023.04.07
                                                               08:41:13 -04'00'
                                              __________________________________________
                                              THE HONORABLE G. MICHAEL HARVEY
                                              UNITED STATES MAGISTRATE JUDGE
